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any excluded persons.

(xii) HAWAII: All residents of Hawaii who took Vioxx in any
dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xiit) IDAHO: All residents of Idaho who took Vioxx in any dose
at any time between May 20, 1999, when Vioxx was first approved
by the United States Food and Drug Administration (“FDA”), and
September 30, 2004, when Vioxx was withdrawn from the market,
and who claim personal injuries or assert wrongful death claims
arising from ingestion of Vioxx. Excluded from the class is the
defendant, including any parent, subsidiary, affiliate or controlled
person of the defendant and their officers, directors, agents or
employees, any judge or judictal officers assigned to this matter,
and members of the immediate families of any excluded persons.

(xiv) ILLINOIS: All residents of Illinois who took Vioxx in any
dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xv) INDIANA: All residents of Indiana who took Vioxx in any
dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded

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from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xvi) IOWA: All residents of Iowa who took Vioxx in any dose at
any time between May 20, 1999, when Vioxx was first approved
by the United States Food and Drug Administration (“FDA”), and
September 30, 2004, when Vioxx was withdrawn from the market,
and who claim personal injuries or assert wrongful death claims
arising from ingestion of Vioxx. Excluded from the class is the
defendant, including any parent, subsidiary, affiliate or controlled
person of the defendant and their officers, directors, agents or
employees, any judge or judicial officers assigned to this matter,
and members of the immediate families of any excluded persons.

(xviil) KANSAS: All residents of Kansas who took Vioxx in any
dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xvill) KENTUCKY: All residents of Kentucky who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xix) LOUISIANA: All residents of Louisiana who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first

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approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xx) MAINE: All residents of Maine who took Vioxx in any dose
at any time between May 20, 1999, when Vioxx was first approved
by the United States Food and Drug Administration (“FDA”), and
September 30, 2004, when Vioxx was withdrawn from the market,
and who claim personal injuries or assert wrongful death claims
arising from ingestion of Vioxx. Excluded from the class is the
defendant, including any parent, subsidiary, affiliate or controlled
person of the defendant and their officers, directors, agents or
employees, any judge or judicial officers assigned to this matter,
and members of the immediate families of any excluded persons.

(xxi) MARYLAND: All residents of Maryland who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxit) MASSACHUSETTS: All residents of Massachusetts who
took Vioxx in any dose at any time between May 20, 1999, when
Vioxx was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate

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families of any excluded persons.

(xxii) MICHIGAN: All residents of Michigan who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx under the
laws of New Jersey. Excluded from the class is the defendant,
including any parent, subsidiary, affiliate or controlled person of
the defendant and their officers, directors, agents or employees, any
Judge or judicial officers assigned to this matter, and members of
the immediate families of any excluded persons.

(xxiv) MINNESOTA: All residents of Minnesota who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxv) MISSISSIPPI: All residents of Mississippi who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxvi) MISSOURI: All residents of Missouri who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert

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wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxvil) MONTANA: All residents of Montana who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxvii) NEBRASKA: All residents of Nebraska who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxix) NEVADA: All residents of Nevada who took Vioxx in any
dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

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(xxx) NEW HAMPSHIRE: All residents of New Hampshire who
took Vioxx in any dose at any time between May 20, 1999, when
Vioxx was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xxx1) NEW JERSEY: All residents of New Jersey who took
Vioxx in any dose at any time between May 20, 1999, when Vioxx
was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xxxil) NEW MEXICO: All residents of New Mexico who took
Vioxx in any dose at any time between May 20, 1999, when Vioxx
was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xxxili) NEW YORK: All residents of New York who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,

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affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xxxiv) NORTH CAROLINA: All residents of North Carolina
who took Vioxx in any dose at any time between May 20, 1999,
when Vioxx was first approved by the United States Food and
Drug Administration (“FDA”), and September 30, 2004, when
Vioxx was withdrawn from the market, and who claim personal
injuries or assert wrongful death claims arising from ingestion of
Vioxx. Excluded from the class is the defendant, including any
parent, subsidiary, affiliate or controlled person of the defendant
and their officers, directors, agents or employees, any judge or
Judicial officers assigned to this matter, and members of the
immediate families of any excluded persons.

(xxxv) NORTH DAKOTA: All residents of North Dakota who
took Vioxx in any dose at any time between May 20, 1999, when
Vioxx was first approved by the United States Food and Drug
Administration (“FDA’’), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xxxvi) OHIO: All residents of Ohio who took Vioxx in any dose
at any time between May 20, 1999, when Vioxx was first approved
by the United States Food and Drug Administration (“FDA”), and
September 30, 2004, when Vioxx was withdrawn from the market,
and who claim personal injuries or assert wrongful death claims
arising from ingestion of Vioxx. Excluded from the class is the
defendant, including any parent, subsidiary, affiliate or controlled
person of the defendant and their officers, directors, agents or
employees, any judge or judicial officers assigned to this matter,
and members of the immediate families of any excluded persons.

(xxxvil) OKLAHOMA: All residents of Oklahoma who took

Vioxx in any dose at any time between May 20, 1999, when Vioxx
was first approved by the United States Food and Drug

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Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xxxvill) OREGON: All residents of Oregon who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary, |
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers

assigned to this matter, and members of the immediate families of

any excluded persons.

(xxxix) PENNSYLVANIA: All residents of Pennsylvania who
took Vioxx in any dose at any time between May 20, 1999, when
Vioxx was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xl) RHODE ISLAND: All residents of Rhode Island who took
Vioxx in any dose at any time between May 20, 1999, when Vioxx
was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate

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families of any excluded persons.

(xl) SOUTH CAROLINA: All residents of South Carolina who
took Vioxx in any dose at any time between May 20, 1999, when
Vioxx was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xli) SOUTH DAKOTA: All residents of South Dakota who took
Vioxx in any dose at any time between May 20, 1999, when Vioxx
was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xliii) TENNESSEE: All residents of Tennessee who took Vioxx
in any dose at any time between May 20, 1999, when Vioxx was
first approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xliv) TEXAS: All residents of Texas who took Vioxx in any dose
at any time between May 20, 1999, when Vioxx was first approved
by the United States Food and Drug Administration (“FDA”), and
September 30, 2004, when Vioxx was withdrawn from the market,
and who claim personal injuries or assert wrongful death claims

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arising from ingestion of Vioxx. Excluded from the class is the
defendant, including any parent, subsidiary, affiliate or controlled
person of the defendant and their officers, directors, agents or
employees, any judge or judicial officers assigned to this matter,
and members of the immediate families of any excluded persons.

(xlv) UTAH: All residents of Utah who took Vioxx in any dose at
any time between May 20, 1999, when Vioxx was first approved
by the United States Food and Drug Administration (“FDA”), and
September 30, 2004, when Vioxx was withdrawn from the market,
and who claim personal injuries or assert wrongful death claims
arising from ingestion of Vioxx. Excluded from the class is the
defendant, including any parent, subsidiary, affiliate or controlled
person of the defendant and their officers, directors, agents or
employees, any judge or judicial officers assigned to this matter,
and members of the immediate families of any excluded persons.

(xlvi) VERMONT: All residents of Vermont who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xlvi1l) VIRGINIA: All residents of Virginia who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(xlviiit) WASHINGTON: All residents of Washington who took
Vioxx in any dose at any time between May 20, 1999, when Vioxx

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was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(xlix) WEST VIRGINIA: All residents of West Virginia who took
Vioxx in any dose at any time between May 20, 1999, when Vioxx
was first approved by the United States Food and Drug
Administration (“FDA”), and September 30, 2004, when Vioxx
was withdrawn from the market, and who claim personal injuries
or assert wrongful death claims arising from ingestion of Vioxx.
Excluded from the class is the defendant, including any parent,
subsidiary, affiliate or controlled person of the defendant and their
officers, directors, agents or employees, any judge or judicial
officers assigned to this matter, and members of the immediate
families of any excluded persons.

(1) WISCONSIN: All residents of Wisconsin who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers
assigned to this matter, and members of the immediate families of
any excluded persons.

(li) WYOMING: All residents of Wyoming who took Vioxx in
any dose at any time between May 20, 1999, when Vioxx was first
approved by the United States Food and Drug Administration
(“FDA”), and September 30, 2004, when Vioxx was withdrawn
from the market, and who claim personal injuries or assert
wrongful death claims arising from ingestion of Vioxx. Excluded
from the class is the defendant, including any parent, subsidiary,
affiliate or controlled person of the defendant and their officers,
directors, agents or employees, any judge or judicial officers

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assigned to this matter, and members of the immediate families of
any excluded persons.

153. Vioxx was widely prescribed and has been ingested by approximately 20 million
persons. The members of the Class are so numerous that joinder is impracticable and would
involve thousands of individual actions.

154. Each class representative plaintiff is a member of the Class he/she seeks to
represent.

155. In this action, key significant common issues of law and fact exist which relate to
the defectiveness of Vioxx; to Defendant's knowledge, conduct and duty in its formulation,
research and development, manufacturing, testing, promotion, marketing, advertising and sales;
and, these common issues predominate over any issues affecting only individual Class members.
Common issues of law and fact include, but are not limited to:

l. Whether Vioxx was and is unsafe for human ingestion;

2. Whether defendant designed, manufactured and/or marketed Vioxx with
knowledge that it was a dangerously defective product;

3. Whether defendant acted knowingly, recklessly, or negligently in
marketing and selling Vioxx;

4. Whether defendant conducted, either directly or indirectly, adequate
testing of Vioxx;

5. Whether defendant acted to conceal or failed to adequately warn
consumers of the adverse health hazards caused by using Vioxx;

6. Whether defendant falsely and fraudulently misrepresented in their

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advertisements, promotional materials and other materials, among other
things, the safety of using Vioxx;

7. Whether defendant knowingly omitted, suppressed or concealed material
facts about the unsafe and defective nature of Vioxx from governmental
regulators, the medical community and/or the consuming public;

8. Whether defendant’s post-marketing safety and surveillance system exists,
and if so, was designed and implemented in a reasonable manner;

9. Whether defendant designed and manufactured a drug that was

dangerously defective because its use leads to or poses a substantial
increased risk of the existence of potentially dangerous side effects,
including, but not limited to, heart attack and stroke;

10... Whether defendant knew or should have known that the ingestion of
Vioxx leads to or poses a substantial increased risk of side effects;

11. Whether defendant continued to manufacture, label, license, market,
distribute, promote and/or sell the drug, Vioxx, notwithstanding its
knowledge of the drug’s dangerous nature and side effects;

12. Whether the warnings and information defendant provided with Vioxx
were adequate in warning of the potential hazards resulting from its use;

13, Whether ingestion of Vioxx causes an increased risk of side effects;

14. Whether there exist monitoring and testing procedures that will permit the
early detection and treatment of the side effects caused by the ingestion of

VIOXX;

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15. | Whether the increased risk of side effects from the ingestion of Vioxx
warrants periodic diagnostic and medical examinations, medical research,
and communications to the Class;

16. | Whether medical monitoring of plaintiff and the proposed Class who used
Vioxx is reasonably necessary; and

17. For the nationwide class, whether the unitary application of New Jersey or
Pennsylvania law is appropriate;

18. | Whether the degree of reprehensibility of Merck’s conduct warrants the
imposition of punitive damages under controlling authority.

156. These and other questions of law and/or fact are common to the Class and
predominate over any question affecting only individual class members.

157. The claims of the class representatives are typical of the claims of the Class in that
the named representatives and the members of the Class ingested Vioxx and have not been
diagnosed with a cardiovascular injury.

158. The plaintiff(s) will fairly and adequately represent and protect the interests of the
members of the Class. Plaintiff(s) has retained counsel competent and experienced in complex
class actions and products lability litigation. Plaintiff(s) has no known interests which are
adverse to the interests of the other members of the Class. The interests of the plaintiff and the
Class they seek to represent are aligned because of their ingestion of Vioxx.

159. Plaintiffs Lawrence and Gibney, as representatives for the national class, act as
surrogates for those state classes (defined above) for which there is yet a nominal class

representative plaintiff, i.e., a headless class. By interlineation, plaintiffs will cause to have

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substituted appropriate class representatives as their claims are filed and transferred to MDL

1657 pursuant to 28 U.S.C. §1407.

160. Class certification is appropriate under Fed.R.Civ.P. 23(b)(3) because common
issues of law and fact relative to the design, manufacture and marketing of Vioxx predominate
over individual issues. A class action is superior to other available methods for the fair and
efficient adjudication of this litigation since individual joinder of all members of each Class is
impracticable.

161. Class certification of the common issues identified in Paragraph No. 154 may also
be appropriate pursuant to Fed. R.Civ.P. 23(c)(4)(A) with respect to particular issues set forth
above or to be developed in the course of the litigation.

162. | Acclass action is superior to any other available method for the fair and efficient
adjudication of this dispute because common questions of law and fact overwhelming
predominate any questions that may affect only individual Class members, and there would be
enormous economies to the courts and the parties in litigating the common issues on a classwide
instead of repetitive individual basis. A class action approach would serve to consolidate and
create a scenario with far fewer management difficulties because it provides the benefits of unity
adjudication, judicial economy, economies of scale and comprehensive supervision by a single

court. Any person who wishes to pursue an individual action outside the remedy sought in this

complaint will have the opportunity to opt out.
163. Maintenance of this action as a class action for the classes alleged is a fair and
efficient method for adjudication of this controversy. It would be impracticable and undesirable

for each member of each Class who has suffered harm to bring a separate action. In addition, the

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maintenance of separate actions would place a substantial and unnecessary burden on the courts
and could result in inconsistent adjudications, while a single class action can determine, with
Judicial economy, the rights of all class members.

164. | Notice may be provided to class members under the requirements of Federal Rule
of Civil Procedure 23(c)(2) by such combination of print publication, broadcast publication,
internet publication, and/or first class mail that this Court determines best comport with modern
Rule 23(c)(2) class notice form, content and dissemination techniques as used in-other medical
products liability cases and as recommended by the Manual for Complex Litigation 4" ed.

165. Plaintiffs know of no difficulty that will be encountered in the management of this
litigation that would preclude its maintenance as a class action certified for the Class.

VI. CLAIMS FOR RELIEF

COUNT I
(NEGLIGENCE)

166. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if
fully set forth herein.

167. Defendant is the designer, manufacturer and seller of the drug Vioxx.

168. When placed in the stream of commerce in 1999, Vioxx was not accompanied by
adequate warnings regarding the significant cardiovascular risks associated with the ingestion of
Vioxx. The warnings given by the Defendant did not accurately reflect the existence of the risk,
let alone the incidence, symptoms, scope, or severity of such injuries.

169. Defendant failed to perform adequate testing concerning the safety of the drug

Vioxx in that adequate testing would have shown that Vioxx poses serious risk of cardiovascular

problems which would have permitted adequate and appropriate warnings to have been given by

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Defendant to prescribing physicians and the consuming public.

170. Defendant had a duty to exercise reasonable care in the design, manufacture, sale,
and distribution of the drug Vioxx, including a duty to assure that the product did not cause users
to suffer from unreasonable, dangerous side effects when used alone or in foreseeable
combination with other drugs.

171. Defendant was negligent in the design, manufacturing, testing, advertising,
marketing, promotion, labeling, warnings given, and sale of Vioxx in that, among other things,
Merck:

(a) failed to use reasonable care to design an arthritis drug (Vioxx) that was
safe for its intended and foreseeable uses, not defective, and not unreasonably
dangerous;

(b) failed to use reasonable care in designing and manufacturing Vioxx so as
to make it safe for its intended uses, not defective, and not unreasonably
dangerous;

(c) failed to use reasonable care to adequately warn foreseeable users

such as plaintiffs of the dangers of using Vioxx, including, but not limited to
adverse cardiac events;

(d) failed to use reasonable care to make reasonable tests, inspections,

drug trials, and/or evaluations necessary to discover such defects and

unreasonably dangerous conditions associated with Defendant’s Vioxx;
(e) failed to comply with and/or to use reasonable care to comply with

standards of care including accepted industry standards, FDA

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recommendations, government regulations, statutes, in the design, manufacture,
affixing of warnings, and otherwise production and distribution of defendant’s
Vi0xx;

(f) failed to use reasonable care to timely remove and/or recall from the
market, retrofit, and/or otherwise prevent the continued contact of plaintiffs or
persons like plaintiffs with such defects and unreasonably dangerous conditions
of Vioxx;

(g) failed to use reasonable care to investigate and/or use known and/or
knowable reasonable alternative designs, manufacturing processes, and/or
materials for Vioxx;

(h) failed to use reasonable care to warn plaintiffs of dangers known and/or
reasonably suspected to Defendant to be associated with Vioxx;

(i) failed to use reasonable care to make Vioxx safe;

(j) failed to timely use reasonable care to discover the dangerous

conditions or character of defendant’s Vioxx;

(k) failed to use due care in the design, testing and manufacturing of Vioxx so
as to prevent the aforementioned risks, including myocardial infarction and stroke,
to individuals when Vioxx was used as a medication for arthritis and other pain;
(1) failed to issue proper warnings regarding all possible adverse side effects
associated with the use of Vioxx and the comparative severity and duration of
such adverse effects, despite the fact the defendant knew, or should have known

that numerous case reports, adverse event reports, and other data that associated

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Vioxx with myocardial infarction and stroke;

(m) failed to conduct adequate pre-clinical testing and post-marketing

surveillance to determine the safety of Vioxx;

(n) failed to provide adequate training and information to medical care
providers for the appropriate use of Vioxx;

©) failed to warn Plaintiffs and healthcare providers, prior to actively
encouraging and promoting the sale of Vioxx, either directly, or indirectly, orally,

in writing, or other media about the following:

1. The adverse side effects associated with the use of Vioxx,
including, but not limited to death, myocardial infarction
and stroke; and,

2. The possibility of becoming disabled as a result of using
Vioxx; and

(p) failed to timely develop and implement a safer, alternative design of
Vioxx, which would meet the same need without the known risks
associated with Vioxx and which would not have made the product too
expensive to maintain its utility.

172. Despite the fact that the Defendant knew or should have known that Vioxx caused
unreasonable, dangerous side effects which many users would be unable to remedy by any
means, the Defendant continued to market Vioxx to consumers, including Plaintiff(s) and the
Class, when there were safer alternative methods of reducing arthritis.

173. Defendant knew or should have known that consumers such as Plaintiff(s) and the

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Class would forseeably suffer injury as a result of the Defendant’s failure to exercise ordinary
care as described above.

174. As the direct and proximate cause and legal result of the Defendant’s failure to
supply appropriate warnings for the drug Vioxx, and as a direct and legal result of the negligence,
carelessness, other wrongdoing and actions of Defendant described herein, the Vioxx recipient
Plaintiff and the class ingested Vioxx and suffered significant injury.

175. Defendant’s negligence was a proximate cause of the harm suffered by the Vioxx
recipient Plaintiff and the Class as previously set forth herein.

176. Asa direct and proximate cause and legal result of the Defendant’s negligence,
carelessness, and the other wrongdoing and actions of the Defendant as described herein, the
Derivative Claimants and class member Derivative claimants have suffered a loss of consortium,
services, love and affection, and have incurred financial expenses and have suffered economic
losses.

COUNT II
STRICT PRODUCT LIABILITY
(Failure to Warn)

177. Plaintiffs repeat and reallege the allegations set forth in the paragraphs above as if
fully set forth herein.

178. The Vioxx manufactured and/or supplied by Defendant was and is
unaccompanied by proper warnings regarding all possible adverse side-effects and the
comparative severity and duration of such adverse effects; the warnings given did and do not

accurately reflect the severity or duration of the adverse side effects or the true potential and/or

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likelihood or rate of the side effects. Defendant failed to perform adequate testing in that
adequate testing would have shown that Vioxx possessed serious potential side effects with
respect to which full and proper warnings accurately and fully reflecting symptoms, scope and
severity should have been made with respect to the use of Vioxx. Had the testing been
adequately performed, the product would have been allowed to enter the market, if at all, only
with warnings that would have clearly and completely identified the risks and dangers of the
drug.

179. The Vioxx manufactured and/or distributed and/or supplied by Defendant was
defective due to inadequate post-marketing warning or instruction because Defendant failed to
provide adequate warnings to users or consumers of Vioxx and continued to aggressively
promote Vioxx.

180. As the proximate cause and legal result of the defective condition of Vioxx as
manufactured and/or supplied and/or distributed by Defendant, and as a direct and legal result of
the conduct of Defendant described herein, plaintiffs and class members have been damaged.

COUNT II
STRICT PRODUCT LIABILITY
(Pursuant to Restatement Second of Torts 402a (1965))

181. Plaintiffs repeat and reallege the allegations set forth in the paragraphs above as if
fully set forth herein.

182. The Vioxx manufactured and/or distributed and/or supplied by Defendant was
defective in design or formulation in that, when it left the hands of the manufacturers and/or

suppliers and/or distributors, the foreseeable risks exceeded the benefits associated with the

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design or formulation of the drug.

183. Alternatively, the Vioxx manufactured and/or distributed and/or supplied by
Defendant was defective in design or formulation in that, when it left the hands of the
manufacturers and/or suppliers and/or distributors, it was unreasonably dangerous, it was more
dangerous than an ordinary consumer would expect and more dangerous than alternative drugs
available for the treatment of arthritis.

184. There existed, at all times material hereto, safer alternative medications.

185. Defendant did not perform adequate testing on Vioxx. Adequate testing would
have shown that Vioxx caused serious adverse effects with respect to which full and proper
warnings accurately and fully reflecting symptoms, scope and severity should have been made.

186. The Vioxx manufactured, designed, marketed, distributed and/or sold by
defendant was unaccompanied by proper and adequate warnings regarding adverse effects
associated with the use of Vioxx, and the severity and duration of such adverse effects; the
warnings given did not accurately reflect the symptoms, scope or severity of adverse effects and
did not accurately relate the lack of efficacy.

187. Defendant did not warn the FDA of material facts regarding the safety and
efficacy of Vioxx, which facts defendant knew or should have known.

188. The Vioxx manufactured and/or distributed and/or supplied by Defendant was
defective due to inadequate post-marketing warning or instruction because, after the Defendant
knew or should have known of the risk of injury from Vioxx, they failed to provide adequate
warnings to users or consumers of Vioxx and continued to promote Vioxx.

189. As aresult of the defective condition of Vioxx, plaintiffs and class members have

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been damaged.

VII. ASCRIPTION OF CLAIMS

ALABAMA

190. Plaintiff Paul Turner brings this claim pursuant to Alabama’s Extended
Manufacturer’s liability doctrine Ala. Code §6-2-38(1) and Alabama common law under Counts
land UH.
ALASKA

191. Plaintiffs bring this action pursuant to Alaska’s common law under Counts I
through ITI.
ARIZONA

192. Plaintiffs bring this action pursuant to Arizona’s Product Liability Act, Ariz. Rev.
Stat. § 12-681(3) under Counts I through II.
ARKANSAS

193. Plaintiffs bring this action pursuant to Arkansas’ Products Liability Act, Ark.
Code. Ann. § 16-116-102 under Counts I through HI.
CALIFORNIA

194. Plaintiff Josephine Hornik brings this action pursuant to California’s common law
under Counts I and IL.
COLORADO

195. Plaintiffs bring this action pursuant to Colorado’s Products Liability Act, Col.

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Rev. Stat. §13-21-401 et seq under Counts I through III.

CONNECTICUT

196. Plaintiff, Don Hanrahan, brings this action pursuant to Connecticut’s Products
Liability Act. Conn. Gen. Stat. § 52, 240a et seq under Counts I and II.
DELAWARE

197. Plaintiff, Daryl McMahon, brings this action pursuant to Delaware’s common law
under Counts I and II.
DISTRICT OF COLUMBIA

198. Plaintiff brings this action pursuant to District of Columbia’s common law under
Counts I and II.
FLORIDA

199. Plaintiff, Maria D. Alvarez, brings this action pursuant to Florida’s common law
under Counts I through III.
GEORGIA

200. Plaintiffs bring this action pursuant to Georgia’s Products Liability Act. O.C.G.A
§51-1-11 et seq and common law under Counts I through III.
HAWAII

201. Plaintiffs bring this action pursuant to Hawaii’s common law under Counts I
through III.
IDAHO

202. Plaintiffs bring this action pursuant to Idaho’s Products Liability Act Idaho Code

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§6-1401-6-1410 and §§6-801 under Counts I and II.

ILLINOIS

203. Plaintiff, Wanda Cole, brings this action pursuant to Illinois’ common law under
Counts I through III.
INDIANA

204. Plaintiff, Kevin Henderson, brings this action pursuant to Indiana Code Annotated
§ 34-20 et seq and common law under Counts I and II.
IOWA

205. Plaintiffs bring this action pursuant to Jowa’s common law under Counts I and II.
KANSAS

206. Plaintiffs bring this action pursuant to Kansas’ Products Liability Act, Kan. Stat.
Ann. § 60-3302(c)(1994) under Counts I through III.
KENTUCKY

207. Plaintiff, Daniel Williams, brings this action pursuant to Kentucky’s Products
Statute Ky. Rev. Stat. Ann. §411.300 (1978) under Counts I and II.
LOUISIANA

208. Plaintiff, M. L. George, brings this action pursuant to Louisiana Revised Statute
Annotated §9.2800.51 et seq under Counts I through II].
MAINE

209. Plaintiffs bring this action pursuant to Maine’s Products Act, Me. Rev. Stat. Ann.

14, §221 and common law under Counts | through III.

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MARYLAND

210. Plaintiff, Vivian Shinberg, brings this action pursuant to Maryland’s common law
under Counts I and II.
MASSACHUSETTS

211. Plaintiff, Paul Kennedy, brings this action pursuant to Massachusetts General Law
Annotated Chapter 106, §§2-314-2-318 and common law under Counts I and II.
MICHIGAN

212. Plaintiffs bring a claim on behalf of all Michigan plaintiffs under the uniform
application of New Jersey law as the New Jersey choice of law doctrine finds that it is against the
public policy of New Jersey to permit injury to out of state plaintiffs by a New Jersey actor to go
without recompense. Therefore, plaintiffs bring this action under New Jersey Products Liability
Act NJ Stat. Ann. § 2a-58c-1 through 58c-8, under Counts I through III.
MINNESOTA

213. Plaintiff, Connie Bell, brings this action pursuant to Minnesota’s common law
under Counts | and II.
MISSISSIPPI

214. Plaintiffs bring this action pursuant to Mississippi’s Products Liability Act, Miss.
Code Ann. § 11-1-63(1993) under Counts I and II.
MISSOURI

215. Plaintiff, Caroline Nevels, brings this action pursuant to Missouri’s common law
under Counts | through III.

MONTANA

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216. Plaintiffs bring this action pursuant to Montana’s Products Liability law
Montana’s Code Annotated 27-1-1719 and common law under Counts I through III.
NEBRASKA

217. Plaintiff, Jon Brunkhorst, brings this action pursuant to Nebraska’s common law
under Counts I through III.

NEVADA

218. Plaintiffs bring this action pursuant to Nevada’s common law under Counts |
through IT.

NEW HAMPSHIRE

219. Plaintiffs bring this action pursuant to New Hampshire’s common law under
Counts I through III.

NEW JERSEY

220. Plaintiffs, Rosemary Lawrence and Raymond Gibney, bring this action pursuant
to New Jersey Products Liability Act NJ Stat. Ann. § 2a-58c-1 through 58c-8, under Counts I
through HI.

NEW MEXICO

221. Plaintiffs bring this action pursuant to New Mexico’s common law under Counts I
through II.

NEW YORK

222. Plaintiff, Walter McNaughton, brings this action pursuant to New York’s
common law under Counts I and II.

NORTH CAROLINA

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223. Plaintiffs bring this action pursuant to North Carolina’s Products Liability law NC
Gen. Stat. § 99B et seq under Count I.
NORTH DAKOTA
224. Plaintiff, Lorn Campbell, brings this action pursuant to North Dakota’s common
law under Counts I through III.
OHIO
225. Plaintiffs, Mary and Homer Couch, bring this action pursuant to Ohio Products

Liability law Ohio’s Rev. Code Ann. § T307.71 et seq and common law under Counts I through

HI.
OKLAHOMA
226. Plaintiffs bring this action pursuant to Oklahoma’s common law under Counts I
and I.
OREGON

227. Plaintiffs bring this action pursuant to Oregon’s Products Liability law Or. Rev.
Stat. §§ 30.900 (1)-(3) and common law under Counts I through III.
PENNSYLVANIA

228. Plaintiffs bring this action under Pennsylvania’s common law under Counts I and
Il.
RHODE ISLAND

229. Plaintiff, Stephen Moreau, brings this action pursuant to Rhode Island’s common
law under Counts | through III.

SOUTH CAROLINA

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230. Plaintiffs bring this action pursuant to South Carolina’s Products Liability law,
S.C. Code Ann. §§ 15-73-10-30 and common law under Counts I through III.
SOUTH DAKOTA

231. Plaintiffs bring this action pursuant to South Dakota’s common law under Counts
1 through IIT.
TENNESSEE

232. Plaintiffs bring this action pursuant to Tennessee’s Products Liability law Tenn.
Code Ann. §29-28-106(6)(2000) under Counts I and II.
TEXAS

233. Plaintiffs bring this action pursuant to Texas’ common law under Counts I
through IT.
UTAH

234. Plaintiffs bring this action pursuant to Utah Code Ann. §78-15-1 under Counts I
and I.
VERMONT

235. Plaintiffs bring this action pursuant to Vermont’s common law under Counts I
through II.
VIRGINIA

236. Plaintiffs bring this action pursuant to Virginia’s common law under Count I.
WASHINGTON

237. Plaintiff, Ronald Forrest, brings this action pursuant to Washington’s Revised

Code § 7.72.01.060 under Counts I and II.

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WEST VIRGINIA

238. Plaintiffs bring this action pursuant to West Virginia’s common law under Counts
I through III.
WISCONSIN

239. Plaintiff, Patrick Besaw, brings this action pursuant to Wisconsin’s common law
under Counts I through III.

WYOMING

240. Plaintiffs bring this action pursuant to Wyoming’s common law under Counts I

through IT.

VII. PRAYER FOR RELIEF

WHEREFORE, plaintiffs on behalf of themselves and the class members they seek to
represent, request the following relief:

A. An order declaring this action to be proper class action of class actions
pursuant to Federal Rule of Civil Procedure 23, establishing an appropriate class or classes, and
finding that plaintiffs are proper representatives of the Class or Classes;

B. For the Alabama, Louisiana, Kentucky, Nevada and Virginia classes only,

plaintiffs seek compensatory damages and such other medical monitoring relief to deliver

services, including, but not limited to, testing, preventative screening and surveillance for

conditions resulting from, or potentially resulting from consumption of Vioxx as well as

establishment or a medical research and education fund and a medical/legal registry;
C. In all jurisdictions where appropriate, awarding plaintiffs and Class
members compensatory damages in an amount to be proven at trial for the wrongful acts

complained of;

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D. In all jurisdictions where appropriate, awarding plaintiffs and Class
members statutory damages as permitted, including any applicable exemplary damages;

E. In all jurisdictions where appropriate, awarding plaintiffs and Class
members punitive damages to deter Defendant’s outrageous and wanton conduct and flagrant
disregard for the lives and health of the class members;

F. Awarding plaintiffs and the Class pre-judgment and post-judgment
interest;

G. Awarding plaintiffs and the Class their costs and expenses in this
litigation, including, but not limited to, expert fees and reasonable attorneys’ fees; and

H. Awarding plaintiffs and the Class such other and further relief as may be

just and proper.

JURY TRIAL DEMAND

Plaintiffs demand on behalf of themselves and all others similarly situated, a trial by jury

on all issues so triable.

Dated: August 1, 2005

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CERTIFICATE

I hereby certify that the above and foregoing Master Class Action Complaint
(Personal Injury and Wrongful Death) has been served upon all parties by U.S. Mail and e-mail

or by hand-delivery and e-mail and upon all parties by electronically uploading the same to

Lexis/Nexis File & Serve Advanced in accordar re-trial Order No. 8, on this 2™ day of

August, 2005.

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